






NO. 07-04-0484-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



FEBRUARY 16, 2005



_____________________________



EVELYN MITCHELL, INDIVIDUALLY AND


DEBBIE GASS, INDIVIDUALLY, APPELLANTS



V.



COVENANT HEALTH SYSTEM, IN ITS ASSUMED NAME OR


COMMON NAME F/K/A METHODIST HOSPITAL


AND CHARLES REYNOLDS, M.D., APPELLEES



_________________________________



FROM THE 99TH DISTRICT COURT OF LUBBOCK COUNTY;



NO. 2002-516-877; HONORABLE MACKEY HANCOCK, JUDGE


_______________________________



Before JOHNSON, C.J., and QUINN and CAMPBELL, JJ.

MEMORANDUM OPINION


	On January 21, 2005, the appellants filed a  Motion to Dismiss Appeal.  No decision of this
Court having been delivered to date, we grant the motion.  Accordingly, the appeal is dismissed. 
No motion for rehearing will be entertained and our mandate will issue forthwith.  Tex. R. App. P.
42.1.   All costs incurred are adjudged against the party incurring the same.    





							James T. Campbell

						    	        Justice



alleged that he had been confined for a period in excess
of 90 days, the State was not ready for trial, and his bail must be reduced to an amount he
could post.  On October 1, 2002, appellant filed amended applications for habeas writs
seeking reduction of bail in each case on the basis that the amounts set for bail during the
August 20, 2002 hearing were excessive.  The amended applications for habeas writs (1)
did not reference any constitutional provision or statutory provision other than CCP
art.17.151, (2) alleged that pursuant to CCP art. 17.151 the court was required to reduce
appellant's bail to an amount he could afford, and (3) stated that no previous application
had been made for issuance of a writ of habeas corpus seeking the relief requested in the
amended motion.  

	The trial court held a hearing on the motions to reduce bail and amended
applications for writs of habeas corpus.  The court informed the parties by letter that the
motions to reduce bail and the amended habeas applications were denied.  Written orders
denying each of appellant's motions to reduce bail were signed.  No written orders
referencing the amended applications for writs of habeas corpus were entered.  Appellant
filed notices of appeal in each of the three cases.  The notices of appeal referenced only
the orders denying appellant's motions to reduce bail.  

	By two issues, appellant contends that (1) the bail set by the trial court in the
aggregate amount of $325,500 for the three offenses was excessive and unreasonable in
violation of the Eighth Amendment to the U.S. Constitution and Article 1, Sections 11 and
13 of the Texas Constitution; and (2) the trial court erred in finding that appellant did not
rebut the State's prima facie showing of readiness within the 90 day period mandated by
CCP art. 17.151, and in failing to reduce appellant's bail to the amount he could post.ISSUE 1: EXCESSIVE BAIL

	By his first issue, appellant urges that his bail was excessive, in violation of the
Eighth Amendment to the U.S. Constitution and Article 1, Sections 11 and 13 of the Texas
Constitution.  In the Argument and Authorities section of his brief he also references CCP
articles 1.09 and 17.151.  None of these bases were urged by his motions to reduce bail
or amended habeas applications in the trial court.  His trial court motions and amended
habeas applications were based on CCP art. 17.151.  

	Appellant has not preserved error for appellate review as urged in his first issue
because his complaint on appeal does not correlate to the matters he urged at trial.  See
Tex. R. App. P. 33.1(a); (2) Dixon v. State, 2 S.W.3d 263, 265 (Tex.Crim.App.1998); Thomas
v. State, 723 S.W.2d 696, 700 (Tex.Crim.App. 1986). (3)   We overrule appellant's first issue. 

ISSUE 2: REFUSAL TO REDUCE BAIL PURSUANT


TO CCP ART. 17.151



	Via his second issue, appellant urges that the State was not ready for trial in
compliance with the time dictate of CCP art. 17.151, which provides that a defendant who
is accused of a felony and who is detained in jail pending trial must be released either on
personal bond or by reducing the amount of bail required if the State is not ready for trial
within 90 days from the commencement of the defendant's detention.  Appellant urges that
under Rowe v. State, 853 S.W.2d 581 (Tex.Crim.App. 1993), he was entitled to have bail
set at an amount the evidence showed he could make.  On this direct appeal he prays that
we set aside the trial court's interlocutory pretrial orders and enter an order that bail be set
in the aggregate at $30,000. 

	We first must consider whether we have jurisdiction.  See State v. Roberts, 940
S.W.2d 655, 657 (Tex.Crim.App. 1996).  Jurisdiction is the power of the court over the
subject matter of the case, conveyed by statute or constitutional provision, id., coupled with
personal jurisdiction over the parties.  See Flowers v. State, 935 S.W.2d 131, 134 n.4
(Tex.Crim.App. 1996); Fairfield v. State, 610 S.W.2d 771, 779 (Tex.Crim.App. 1981). 
Courts address the question of jurisdiction sua sponte, because unless a court has
jurisdiction over a matter, its actions in the matter are without validity.  See Roberts, 940
S.W.2d at 657 n.2. 

	The right to appeal is conferred by the legislature, and generally a party may appeal
only that which the legislature has authorized.  See Marin v. State, 851 S.W.2d 275, 278
(Tex.Crim.App. 1993); Olowosuko v. State, 826 S.W.2d 940, 941 (Tex.Crim.App. 1992). 
Absent express authority, courts of appeals do not have jurisdiction to review interlocutory
orders, see Ex parte Apolinar v. State, 820 S.W.2d 792, 794 (Tex.Crim.App. 1991),
although some narrow exceptions to such rule may exist.  See Wright v. State, 969 S.W.2d
588, 589 (Tex.App.-Dallas 1998, no pet.).

	The courts of appeals have split over whether appellate jurisdiction exists in regard
to direct appeals from pretrial bail rulings such as the one before us. Compare Ramos v.
State, 89 S.W.3d 122, 124-26 (Tex.App.-Corpus Christi 2002, no pet.) (TRAP 31.1
contemplates appeals of orders in bail proceedings) with Benford v. State, 994 S.W.2d
404, 409 (Tex.App.-Waco 1999, no pet.) (appellate jurisdiction does not exist over appeal
from interlocutory pretrial order increasing amount of bail because no statutory grant of
jurisdiction) and Ex parte Shumake, 953 S.W.2d 842, 846-47 (Tex.App.-Austin 1997, no
pet.).  See also Wright, 969 S.W.2d at 589-90 ("This appeal does not fall within one of the
exceptions to the rule, nor are we inclined to construe rule 31.1 of the rules of appellate
procedure to encompass a direct appeal of a pretrial order revoking bond.").    

	We lack a statutory grant of jurisdiction over this appeal.  See Benford, 994 S.W.2d
at 409.  And, although TRAP 31 addresses, in part, appeals from bail proceedings, we
note that the Rules of Appellate Procedure do not establish jurisdiction of courts of
appeals, see Olivo v. State, 918 S.W.2d 519, 523  (Tex.Crim.App. 1996), and cannot
create jurisdiction where none exists.  See State v. Riewe, 13 S.W.3d 408, 413
(Tex.Crim.App. 2000). 

	We concur with the conclusions reached by the Benford and Shumake courts.  We
lack jurisdiction over this direct appeal from interlocutory pretrial orders refusing to lower
bail pursuant to CCP 17.151.  Appellant's second issue is dismissed for want of
jurisdiction.CONCLUSION

	We affirm. 

							Phil Johnson

							Chief Justice


Publish.
1. Further reference to a provision of the Code of Criminal Procedure will be by
reference to "CCP art._."
2. Further reference to a Rule of Appellate Procedure will be by reference to "TRAP
_____."
3. To the extent appellant's first issue is based on his amended applications for writs
of habeas corpus and the rights he claimed therein under CCP art. 17.151, no reference
was made to the applications in his notices of appeal and no written orders were entered
as to those applications.  The trial court's oral pronouncement refusing to reduce
appellant's bail pursuant to the amended habeas applications may not have been sufficient
to comprise appealable orders under these records and given the posture of this appeal. 
See TRAP 25.2(b)(2) and 26.2(a)(1); State v. Kibler, 874 S.W.2d 330, 332 (Tex.App.--Fort
Worth 1994, no pet.).  Because of our disposition of appellant's first issue, we do not
address sufficiency of the notices of appeal to invoke our jurisdiction as to the amended
habeas applications, whether appealable orders existed as to the amended habeas
applications, or the effect of any possible lack of appealable orders as to our jurisdiction
over an issue based on the applications.   


